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                               OFFICE OF THE CLERK
                           UNITED STATES DISTRICT COURT
                              Northern District of California

                                       CIVIL MINUTES


 Date: June 18, 2020              Time: 11:03-11:21=             Judge: EDWARD M. CHEN
                                        18 Minutes

 Case No.: 19-cv-00290-EMC        Case Name: American Civil Liberties Union Foundation v.
                                  Department of Justice



Attorneys for Plaintiff: Hugh Handeyside, Matt Cagle
Attorney for Defendant: Elizabeth Tulis

 Deputy Clerk: Angella Meuleman                       Court Reporter: Ana Dub

                       PROCEEDINGS HELD BY ZOOM WEBINAR

Status Conference held.

                                          SUMMARY

Parties reported conferring and close to agreement regarding production of draft Vaughn indexes;
timing to be resolved by the parties.

Defendant reported the USCIS is potentially facing a funding crisis which could affect production.

State Department entered Phase 1 of reopening process. Details still pending. Continuing to
confer. Court directed defendant to make further inquiry regarding priorities and process and to
remind State Department of the pendency of this case.

DHS Privacy Office – technical issues. Defense counsel stated they are trying to create more
narrowly tailored search. Defense counsel to facilitate communications directly with technical
DHS division to facilitate response.

Court set Further Status Conference for 9/17/2020 at 10:30 a.m. Joint Status Report due
9/10/2020. Court also requested proposed briefing schedule for Motion for Summary Judgment.
Proposed briefing schedule due 8/31/2020.
